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                Exhibit A
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                                              screenshot‑roberteringer.com‑2018.11.05‑15‑01‑23
                                                                  http://roberteringer.com/books
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                                              screenshot‑roberteringer.com‑2018.11.05‑14‑59‑51
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